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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

SIEMENS PRODUCT LIFECYCLE
MANAGEMENT SOFTWARE INC.,
                   Plaintiff,

v.                                               Hon.
                                                 Case No.
NUMERIC CONCEPT & DESIGN
L.L.C.,
                   Defendant.



       PLAINTIFF'S ORIGINAL COMPLAINT FOR COPYRIGHT
      INFRINGEMENT AND CIRCUMVENTION OF A COPYRIGHT
       PROTECTION SYSTEM AND DEMAND FOR JURY TRIAL

      Plaintiff Siemens Product Lifecycle Management Software Inc., by its

attorneys, for and on behalf of its complaint against Defendant Numeric Concept &

Design L.L.C. hereby alleges as follows:

                                    PARTIES

      1.     Plaintiff Siemens Product Lifecycle Management Software Inc.

("Siemens PLM" or "Plaintiff') is a corporation duly organized and existing under

the laws of the State of Delaware, with its principal place of business in the State

of Texas.

      2.    Defendant Numeric Concept & Design L.L.C. ("Numeric") is a

limited liability company organized and existing under the laws of the State of
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Michigan, with its principal place of business located at 47943 Michigan Ave,

Canton, MI 48188.

                        JURISDICTION AND VENUE

      3.     This is a civil action seeking damages for copyright infringement (17

U.S.C. § 1201) and for circumvention of copyright protection systems(17 U.S.C. §

1203(a)) under the laws of the United States.

      4.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §

1331 (federal question); and 28 U.S.C. § 1338(a)(copyright).

      5.    Venue and personal jurisdiction in this District are proper under 28

U.S.C. § 1391(b) and/or 28 U.S.C. § 1400(a). Numeric's regular and established

place of business is at 47943 Michigan Ave, Canton, MI 48188.

                        FIRST CAUSE OF ACTION
                (Infringement of Copyrights Against Numeric)

      6.    Plaintiff incorporates herein by reference each and every allegation

contained in each paragraph above.

      7.    Siemens PLM manufactures and distributes Product Lifecycle

Management ("PLM") software, which allows companies to manage the entire

lifecycle of a product efficiently and cost-effectively, from ideation, design and

manufacture, through service and disposal.

      8.    PLM software brings together computer-aided design ("CAD"),

computer-aided manufacturing ("CAM"), computer-aided engineering ("CAE"),


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product data management ("PDM"), and digital manufacturing. By providing the

application depth and breadth needed to digitally author, validate, and manage the

detailed product and process data, PLM supports innovation by its customers.

       9.    NX 10 and NX 12 software are among the PLM software products

offered by Siemens PLM. The NX software offers the industry's broadest suite of

integrated, fully associative CAD/CAM/CAE applications. They touch the full

range of development processes in product design, manufacturing, and simulation,

allowing companies to encourage the use of best practices by capturing and reusing

product and process knowledge.

       10.   Siemens PLM software (the "Copyrighted Software"), including NX

10 and NX 12 software, constitutes and contains Siemens PLM's valuable

intellectual property that has been developed over many years through the

investment of substantial resources.

      11.    To protect its rights and interests in its valuable software, including

but not limited to NX software, Siemens PLM obtains and registers copyrights to

its works.

      12.    Siemens PLM is, and at all relevant times has been, the copyright

owner under United States copyright law with respect to certain copyrighted

software including, but not limited to, the NX software.




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       13.   The NX software is the subject of valid Copyright Registrations

issued by the Register of Copyrights to Plaintiff. A copy of the Certificate for

Registration for Copyright Registration. Number TXu 1-965-012, dated December

9, 2014, which covers the NX 10 software is attached hereto as Exhibit 1.

       14.   Siemens PLM submitted its application for a copyright on NX 12 on

November 7, 2017; that application is pending.

      15.    Plaintiff placed notices of copyright pursuant to the notice provisions

expressed in 17 U.S.C. § 401 on NX 10 and NX 12.

      16.    Among the exclusive rights granted to Plaintiff under the Copyright

Act are the exclusive rights to use and reproduce NX 10 and NX 12 and to

distribute them to the public.

      17.    Numeric, without permission or consent of Siemens PLM, used

unlicensed versions ofthe NX software.

      18.    Siemens PLM is informed and believes that on or around February

2016, Defendant Numeric unlawfully obtained and began using an unlicensed

version of Siemens PLM's NX 10 software at Numeric's facility in Canton,

Michigan.

      19.    On at least twenty six occasions between February 13, 2016 and

December 3, 2017, Numeric used that unlicensed version of NX 10 without

permission or consent.



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      20.    Siemens PLM is informed and believes that on or around December 3,

2017, Defendant Numeric unlawfully obtained and began using an unlicensed

version of Siemens PLM's NX 12 software at Numeric's facility in Canton,

Michigan.

      21.    Numeric's unlicensed and unlawful use of the NX software in the face

of repeated notice constitutes, among other prohibited acts, willful copyright

infringement under the Copyright Act of 1976, 17 U.S.C. § 501, et. seq.

      22.    Siemens PLM is informed and believes that the foregoing acts of

infringement have been willful, intentional, and in disregard of and with

indifference to the rights of Siemens PLM.

      23.    Numeric has not only refused to purchase valid licenses of NX 10 and

NX 12 but also continued its unlicensed use after being given written notice of the

need for Numeric to obtain a valid license to the software.

      24.    Numeric's unlicensed and unlawful use of the NX software in the face

of repeated notice constitutes, among other prohibited acts, willful copyright

infringement under the Copyright Act of 1976, 17 U.S.C. § 101, et. seq.

      25.    As a result of Defendant Numeric's infringement of Plaintiff's

copyrights and exclusive rights under copyright, Plaintiff is entitled to statutory

damages pursuant to 17 U.S.C. §§ 502 and 503.




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      26.    As a result of Defendant Numeric's infringement of Plaintiffs

copyrights and exclusive rights under copyright, Plaintiff is entitled to actual

damages according to proof

      27.    As a result of Defendant Numeric's infringement of Plaintiff's

copyrights and exclusive rights under copyright, Plaintiff is entitled to an

accounting of Numeric's use and/or downloading of NX 10 and NX 12 and an

accounting and recovery ofrevenues and profits obtained by Numeric through such

use and/or downloading of such software.

      28.    As a result of Defendant Numeric's infringement of Plaintiff's

copyrights and exclusive rights under copyright, including willful and intentional

infringement, Plaintiff is also entitled to enhanced damages and recovery of its

attorneys' fees and costs.

                      SECOND CAUSE OF ACTION
      (Circumvention of Copyright Protection System Against Numeric)

      29.    Plaintiff incorporates herein by reference each and every allegation

contained in each paragraph above.

      30.   Plaintiff is informed and believes that Defendant Numeric, in order to

use the NX 10 and NX 12 without purchasing valid licenses, acquired "cracked"

versions of NX 10 and NX 12 that allow Numeric to access software modules




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covered by multiple copyrights through circumvention of Plaintiff's copyright

protection measures.'

      31.   "Cracked" versions of NX 10 and NX 12 use methods to circumvent a

technological measure implemented to control access to the software in a manner

prohibited under 17 U.S.C. § 1201.

      32.    Plaintiff incorporates technological measures to protect against

unlicensed work or use.

      33.    Plaintiff is informed and believes that Numeric's "cracked" versions

of the NX 10 and NX 12 originated from a well-known piracy group known as

"SolidSquad."

      34.   Upon information and belief, "SolidSquad" employs measures to

descramble scrambled works, decrypts encrypted works, and avoids, bypasses,

deactivates, and impairs technological protections without the authority of rights

holders.

      35.   As a result of Defendant Numeric's circumvention of Siemens PLM's

copyright protection system, Plaintiff is entitled to statutory damages pursuant to

17 U.S.C. § 1203(c).




 "Cracking" is the modification of software to remove or disable features or
components of the software. In this case, the modified portion of the Copyrighted
Software was designed to protect against unlicensed use.

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         36.   As a result of Defendant Numeric's circumvention of Siemens PLM's

copyright protection system, Plaintiff is entitled to actual damages according to

proof.

         37.   As a result of Defendant Numeric's circumvention of Siemens PLM's

copyright protection system, Plaintiff is entitled to an accounting and recovery of

profits obtained by Numeric's circumvention of Siemens PLM's copyright

protection system between February 13, 2016 and the date ofthis filing.

      38.      As a result of Defendant Numeric's circumvention of Siemens PLM's

copyright protection system, Plaintiff is also entitled to recovery of its attorneys'

fees and costs.

                              RELIEF REQUESTED

         WHEREFORE, Plaintiff requests judgment against Defendant Numeric as

follows:

         1 For statutory damages for each infringement of each Copyrighted

           Software pursuant to 17 U.S.C. § 504;

      2. For statutory damages for each circumvention of Plaintiff's copyright

           protection system pursuant to 17 U.S.C. § 1203(c);

      3. For actual damages according to proof;

      4. For an accounting of the use and/or download by Defendant of the

           Copyrighted Software;



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     5. For an accounting of any revenues and profits realized by or through

        Defendant's use and/or download of the Copyrighted Software;

    6. For pre- and post-judgment interest in the full amount allowable by law;

    7. For enhanced damages;

    8. For Plaintiff's costs in this action;

    9. For Plaintiff's reasonable attorneys' fees incurred herein; and

     10.For such other and further relief as the Court may deem just and proper.

               PLAINTIFF'S DEMAND FOR JURY TRIAL

    Plaintiff hereby demands a jury trial on all claims and counts triable by jury.



                               Respectfully submitted,

                               BUTZEL LONG,a professional corporation

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Dated: May 14, 2018




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